Case 2:18-cv-05741-DMG-PLA Document 80 Filed 09/07/18 Page 1 of 2 Page ID #:3051




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 8                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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     LUCAS R., et al.,                        Case No.: CV 18-5741-DMG (PLAx)
11
                                              ORDER RE APPLICATION FOR
12               Plaintiffs,                  LEAVE TO FILE UNDER SEAL
13
                                              CERTAIN DOCUMENTS [76]
                 vs.
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15   ALEX AZAR, et al.,
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                 Defendants.
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Case 2:18-cv-05741-DMG-PLA Document 80 Filed 09/07/18 Page 2 of 2 Page ID #:3052




 1         Pending before the Court is Plaintiff Gabriela N.’s unopposed application for
 2   leave to file under seal Exhibit 36 and portions of Exhibits 35 and 37, which she offers
 3   in support of her Reply to the Opposition to her Motion for a Preliminary Injunction.
 4   [Doc. # 76.]
 5         Having considered the papers submitted by Plaintiff and having reviewed the
 6   material that Plaintiff seeks to seal, the Court finds that Plaintiff’s request is narrowly
 7   tailored to seal only that material for which compelling reasons have been established.
 8   The Court therefore GRANTS her request.
 9         Accordingly, it is hereby ORDERED:
10         1.       Pursuant to Local Rule 79-5.2.2(c), Plaintiff shall e-file under seal Docket
11   Entry Nos. 77-1 (Exhibit 35—Paola Perez’s Declaration), 77-2 (Exhibit 36—
12   September 4, 2018 Letter to Niky Hymel), and 77-3 (Exhibit 37—Gabriela N.’s
13   Declaration) within three (3) days of the date of this Order; and
14         2.       Plaintiff shall refile on the public docket the redacted documents found in
15   Docket Entry Nos. 76-1 (Exhibit 35) and 76-2 (Exhibit 37) within three (3) days of the
16   date of this Order.
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18   DATED: September 7, 2018
19                                                 ________________________________
20                                                 DOLLY M. GEE
                                                   UNITED STATES DISTRICT JUDGE
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